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Attorneys for Plaintiff


                            UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF OREGON

                                   PORTLAND DIVISION


A.M., an individual,                            )   Case No. 3:21-cv-01674
                                                )
               Plaintiff,                       )   PLAINTIFF’S RESPONSE TO
                                                )   DEFENDANT’S REQUEST FOR
       v.                                       )   JUDICIAL NOTICE
                                                )
OMEGLE.COM LLC,                                 )
                                                )
               Defendant.                       )
                                                )

       Plaintiff A.M., by and through her attorneys, does not object to the Court taking

judicial notice of the existence of the policies described in Defendant Omegle’s Motion, but

reserve all other objections, including but not limited to any objections regarding authenticity.


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Dated: February 1, 2022


                                         Respectfully submitted,

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